Case: 1:10-cv-04603 Document #: 1942-4 Filed: 06/04/25 Page 1 of 2 PageID #:33081




                 Exhibit 4
Case: 1:10-cv-04603 Document #: 1942-4 Filed: 06/04/25 Page 2 of 2 PageID #:33082


                                   STAFFING VACANCIES              Date Vacant

                              Medical Director Vacancies 0 FTE


                              Staff Physician Vacancies 2.5 FTE
     Logan (1.0)                                                     4/3/2019

     Menard (0.5)                                                    8/1/2018

     Stateville (1.0)                                                9/7/2018

                                  PA/NP Vacancies 5.5FTE


     Stateville NRC (.5)                                            12/11/2018

     Danville (1.0)                                                 3/18/2019

     Pontiac (1.0)                                                  11/26/2018

     Pontiac (1.0)                                                  10/8/2018

     Logan (1.0)                                                     1/1/2019

     Lawrence (0.55)                                                 5/9/2016

                                     Dentists 5.25 FTE
     Lincoln (.5)                                                    2/1/2019

     Menard (2.0)                                                 1/25 & 5/2/2018

     Robinson (1.0)                                                  2/7/2018

     Kewanee (0.25)                                                  3/7/2018

     Logan (0.8)                                                    11/30/2018

     Pinckneyville (.2)                                              4/1/2019

     Lawrence (.5)                                                   4/1/2019

                           Optometry 1.25
     Vandalia (.08)                                                 9/28/2018

     Centralia (.09)                                                9/28/2018

     Western (.25)                                                  12/31/2018

     Pinkneyville (.25)                                             2/18/2019
